
PER CURIAM.
Janet E. McCormick challenges the Bankruptcy Appellate Panel’s affirmance of the bankruptcy court’s refusal to discharge McCormick’s student loan debt under 11 U.S.C. § 523(a)(8). Because McCormick has not provided a trial transcript, see Fed. R. Bankr.P. 8006, we must defer to the bankruptcy court’s finding that McCormick failed to prove she could not repay this debt without undue hardship. See In re Clark, 223 F.3d 859, 863 (8th Cir.2000). Because we have nothing to add to the Bankruptcy Appellate Panel’s decision, we affirm on the basis of the panel’s decision. See 8th Cir. R. 47B.
